846 F.2d 70Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard Gayle DAVIDSON, Plaintiff-Appellant,v.Robert M. LANDON, Patrick Gurney, L.B. Cei, Richard A.Young, Wade D. Blankenship, L.K. Hardy, J.B.Ruard, L. Harris, L.W. Sink, J.Umberger, W. Perdue, LacyAnderson,Defendants-Appellees.
    No. 88-6559.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 31, 1988.Decided May 12, 1988.
    
      Leonard Gayle Davidson, appellant pro se.
      Richard Francis Gorman, III, Office of Attorney General, for appellees.
      Before WIDENER, CHAPMAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leonard Gayle Davidson noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   See Shah v. Hutto, 722 F.2d 1167 (4th Cir.1983) (en banc), cert. denied, 466 U.S. 975 (1984).  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      DISMISSED.
    
    